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 12                          UNITED STATES DISTRICT COURT
 13                         CENTRAL DISTRICT OF CALIFORNIA
 14                                    WESTERN DIVISION
 15
 16   Jenny Lisette Flores., et al.,             Case No. CV 85-4544-DMG-AGRx
 17                    Plaintiffs,               NOTICE OF MOTION AND
 18                                              MOTION FOR AWARD OF
            v.                                   ATTORNEYS’ FEES;
 19                                              MEMORANDUM IN SUPPORT OF
      William Barr, Attorney General of the
 20                                              MOTION
      United States, et al.,
 21                                              Hearing: December 2, 2022
                       Defendants.
 22                                              Time:    10:00 AM
                                                 Judge:   Hon. Dolly Gee
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  1
           MEMORANDUM IN SUPPORT OF MOTION FOR ATTORNEYS’ FEES
  2
      I.      Introduction
  3           Plaintiffs apply for an award of attorneys’ fees incurred in this Court to
  4   prosecute Plaintiffs’ Ex Parte Application for a Temporary Restraining Order and
  5   Order to Show Cause Why a Preliminary Injunction and Contempt Order Should Not
  6   Issue (“Plaintiffs’ TRO Application”) [Doc. # 572] regarding the manner in which
  7   the Government will comply with the requirements of paragraphs 11 and 12A of the
  8   Flores Settlement Agreement (“FSA”), mandating that detained accompanied and
  9   unaccompanied class members be housed in safe and sanitary conditions with
 10   particular regard for the vulnerability of minors, within the Rio Grande Valley and El
 11   Paso Sectors of the U.S. Customs and Border Protection (“CBP”). See Flores v.
 12   Sessions, 862 F.3d 863, 866 (9th Cir. 2017); Plaintiffs’ TRO Application (Doc. #
 13   572).
 14           On June 28, 2019, this Court ordered the parties to engage in mediation

 15   discussions before Special Master/Independent Monitor Andrea Sheridan Ordin.

 16   [Doc. # 579]. Thereafter, the parties engaged in numerous meetings supervised by
      the Special Master/Independent Monitor and attended by Dr. Paul Wise, counsel
 17
      representing Plaintiffs and Defendants, Defendants’ operational personnel, and
 18
      medical experts from both sides.
 19
              After lengthy arms-length negotiations, the parties reached a comprehensive
 20
      settlement agreement (“Agreement”) to resolve Plaintiffs’ TRO. See Joint Motion
 21
      for Preliminary Approval of Settlement Agreement and Approval of Class Notice of
 22
      Settlement (“Preliminary Joint Motion”) [Doc. # 1254]. In support of their Motion
 23
      for Preliminary Approval, the parties submitted the proposed Agreement and a
 24
      proposed class notice to inform Flores class members of the proposed Agreement.
 25
              Upon consideration of the parties’ Preliminary Joint Motion, the Court
 26   preliminarily approved the parties’ Agreement and with some modifications
 27   approved the notice of the proposed Agreement to Flores class members (“Notice”)
 28   in accordance with Federal Rule of Civil Procedure 23(e). [Doc. # 1255].

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            On July 15, 2022, the parties filed a Joint Motion for Final Approval of
  2
      Settlement Agreement (“Final Joint Motion”) [Doc. #1266], which the Court
  3   subsequently approved on July 29, 2022 [Doc. # 1278]. The Court’s July 29 Order
  4   granted the parties’ request that the deadline for Plaintiffs to file any motion for
  5   attorneys’ fees be extended to August 28, 2022. [Doc. # 1278].
  6         Plaintiffs now apply pursuant to the Equal Access to Justice Act, 28 U.S.C.
  7   § 2412(d) (“EAJA”), for an award of attorneys’ fees incurred.
  8         The EAJA allows litigants to recover fees in certain actions against the United
  9   States, thus encouraging the vindication of rights by persons who would otherwise be
 10   deterred from challenging governmental action because of the expense of litigation.
 11   Pub. L. No. 96-481, 94 Stat. 2325. In pertinent part, the EAJA provides:
 12
 13         Except as otherwise specifically provided by statute, a court shall award
 14         to a prevailing party other than the United States fees and other

 15         expenses, in addition to any costs awarded pursuant to subsection (a),

 16         incurred by that party in any civil action (other than cases sounding in
            tort), including proceedings for judicial review of agency action,
 17
            brought by or against the United States in any court having jurisdiction
 18
            of that action, unless the court finds that the position of the United States
 19
            was substantially justified or that special circumstances make an award
 20
            unjust.
 21
      28 U.S.C. § 2412(d)(1)(A).
 22
            “The clearly stated objective of the EAJA is to eliminate financial
 23
      disincentives for those who would defend against unjustified governmental
 24
      action and thereby to deter the unreasonable exercise of Government
 25
      authority.” Ibrahim v. U.S. Dep’t of Homeland Sec., 912 F.3d 1147, 1166
 26   (9th Cir. 2019) (en banc) (quoting Ardestani v. I.N.S., 502 U.S. 129, 138
 27   (1991)). “Congress specifically intended the EAJA to deter unreasonable
 28   agency conduct.” Id. at 1166-67 (citing Comm’r, I.N.S. v. Jean, 496 U.S.

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      154, 163 n.11 (1990) and Pub. L. No. 96-481, §§ 201-08, 94 Stat. 2321,
  2
      2325-30 (1980)).
  3            As will be seen, Plaintiffs satisfy all requirements for an award of EAJA fees.1
  4   The Court should accordingly grant the instant motion and award fees as herein
  5   requested.
  6   II.      Timeliness of Fee Request
  7            The EAJA requires that the successful litigant file the fee application “within
  8   30 days of final judgment.” 28 U.S.C. § 2412(d)(1)(B).
  9            A “final judgment” is one that is not subject to further review. 28 U.S.C. §
 10   2412(d)(2)(G).
 11            The Court granted final approval of the parties’ settlement agreement [Doc. #
 12   1254-1] on July 29, 2022, and granted the parties’ request that the deadline for
 13   Plaintiffs to file any motion for attorney’s fees be extended to August 28, 2022.
 14   Plaintiffs motion is timely.

 15   III.     Argument

 16   A.       Plaintiffs qualify for an award of EAJA Fees
               Pursuant to 28 U.S.C. § 2412(d) “eligibility for a fee award in any civil action
 17
      requires: (1) that the claimant be ‘a prevailing party’; (2) that the Government’s
 18
      position was not ‘substantially justified’, (3) that no ‘special circumstances make an
 19
      award unjust’; and (4) pursuant to 28 U.S.C. § 2412(d), that any fee application be
 20
      submitted to the court within 30 days of final judgment in the action and be supported
 21
      by an itemized statement.” Ibrahim, 912 F.3d at 1167 (quoting Jean, 496 U.S. at
 22
      158).2
 23
               Once this showing is made, the burden shifts to the Government to prove that
 24
      its position, both before and during the litigation, was substantially justified or that
 25
      special circumstances make an award of attorney’s fees unjust. See Scarborough v.
 26
 27   1
       Plaintiffs incurred but are not seeking recovery of costs.
      2
 28    The Court has discretion to determine whether the amount of the requested fees
      are reasonable. Pierce v. Underwood, 487 U.S. 552, 571 (1988).
                                                  3                         MOTION FOR ATTORNEYS FEES
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  1
      Principi, 541 U.S. 401, 416-17 (2004); Love v. Reilly, 924 F.2d 1492, 1495 (9th Cir.
  2
      1991).
  3         1.     Plaintiffs are prevailing parties.
  4         Under the EAJA, a party prevails when it has been granted “some relief by a
  5   court.” Buchannon Bd. & Care Home, Inc. v. West Virginia Dep’t of Health and
  6   Human Res., 532 U.S. 598, 603, 121 S. Ct. 1835, 149 L. Ed. 2d 855 (2001).3 To
  7   prove prevailing party status, an EAJA petitioner must establish: (1) a “material
  8   alteration of the legal relationship of the parties,” and (2) a “judicial imprimatur on
  9   the change.” Id. at 604-05 (emphasis in original).
 10         A party prevails and thereafter remains prevailing when it has won judicial
 11   relief or obtained an enforceable settlement or consent decree. Prison Legal News v.
 12   Schwarzenegger, 608 F.3d 446, 451-52 (9th Cir. 2010); Keith v. Volpe, 833 F.2d 850,
 13   857 (9th Cir. 1987); see also Balla v. Idaho, 677 F.3d 910, 918-20 (9th Cir. 2012)
 14   (work for “compliance monitoring” of settlement is compensable even in the absence

 15   of new judicial relief). Plaintiffs accordingly prevailed in this action in concluding the

 16   Settlement entered herein in 1997.
            The parties reached the Agreement which resolves the vast majority of thee
 17
      issues raised in Plaintiffs’ TRO. On July 15, 2022, the parties filed the Final Joint
 18
      Motion [Doc. #1266], which the Court subsequently approved on July 29, 2022.
 19
      [Doc. # 1278].
 20
            The Agreement and the Court’s approval of the Agreement clearly
 21
      require that Defendants adjust their policies and practices. Plaintiffs therefore
 22
      prevailed on their motion and accordingly satisfy the first requirement for an
 23
      EAJA fees award.
 24
 25
 26   3
       Although Buckhannon involved other fee-shifting statutes and not the EAJA, the
 27   Ninth Circuit has held that the requirements of a prevailing party announced in that
 28   decision are applicable to EAJA awards as well. Perez-Arellano v. Smith, 279 F.3d
      791, 793-94 (9th Cir. 2002).
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   1
             2.     Plaintiffs’ net worth is far less than $2,000,000.
   2
             Pursuant to 28 U.S.C. § 2412(d)(2)(B)(i), a party’s “net worth [must] not
   3   exceed $2,000,000 at the time the civil action was filed . . . .”
   4         The original plaintiffs in this action were indigent at the time this action
   5   commenced. Declaration of Peter Schey, Exhibit 1 (“Schey”) ¶ 9. It is virtually self-
   6   evident that plaintiff class members are indigent. By definition, they are immigrant or
   7   refugee minors in federal custody. Agreement ¶¶ 10-11; see also Schey ¶ 9 (affirming
   8   that Flores plaintiff class members are on the whole indigent).
   9         Plaintiffs accordingly meet the second requirement for an EAJA fee award. See
 10    Cobell v. Norton, 407 F. Supp. 2d 140, 148-49 (D. D.C. 2005) (“[A]ffidavits signed
 11    by the class representatives, attesting to the fact that their net worth fell within EAJA
 12    statutory guidelines at the time the litigation was initiated . . . amply satisfy the
 13    requirements of the statute for the entire class.”).
 14          3.     EAJA fees may be awarded for work to enforce a consent decree.

 15          Plaintiffs may recover attorneys’ fees related to “compliance monitoring” of a

 16    settlement or order “where there has been judicial relief, though the monitoring work
       is subsequent to the judicial order and produces no new order.” Balla, 677 F.3d at
 17
       918; see also Pennsylvania v. Delaware Valley Citizens’ Council for Clean Air, 478
 18
       U.S. 546, 558-59, 106 S. Ct. 3088, 92 L.Ed.2d 439 (1986) (“[P]ost-judgment
 19
       monitoring of a consent decree is a compensable activity for which counsel is entitled
 20
       to a reasonable fee.”).
 21
             In Delaware Valley, the plaintiff obtained a consent decree and thereafter
 22
       conducted additional litigation and administrative advocacy to protect that decree.
 23
       The Court held the plaintiff entitled to recover attorney’s fees and costs for this post-
 24
       settlement work. 478 U.S. at 559-60.
 25
             Following Delaware Valley, numerous courts have affirmed litigants’ right to
 26    recover attorney’s fees and costs for work to enforce court-approved settlements.
 27    E.g., Keith, 833 F.2d at 857 (“[T]he district court here ‘was entitled to believe that
 28    relief [for the plaintiffs under the consent decree] would occur more speedily and

                                                   5                          MOTION FOR ATTORNEYS FEES
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   1
       reliably’ if the [plaintiffs’ counsel] engaged in these monitoring activities, and this
   2
       post-judgment monitoring by the [plaintiffs’ counsel] was, therefore, ‘a necessary
   3   aspect of plaintiffs’ “prevailing”’ in the case.’”); Jeff D. v. Andrus, 899 F.2d 753, 765
   4   (9th Cir. 1989) (plaintiffs entitled to attorney’s fees for work subsequent to the
   5   settlement despite waiving pre-settlement fees; “issues in these appeals are separate
   6   from the settlement of the underlying litigation and the waiver of attorney’s fees in
   7   the settlement does not affect our disposition here.”).4
   8         4      Defendants’ position lacked substantial justification.
   9         Because Plaintiffs both prevailed and meet the EAJA’s net worth standard, “an
 10    award of fees is mandatory under the EAJA unless the government’s position is
 11    substantially justified or special circumstances exist that make an award of fees
 12    unjust.” Love, 924 F.2d at 1495. Defendants must carry the burden of proof with
 13    respect to both factors. Id.; see also Ibrahim, 912 F.3d at 1167; Oregon
 14    Environmental Council v. Kunzman, 817 F.2d 484, 498 (9th Cir. 1987); United States

 15    v. 22249 Dolorosa St., 190 F.3d 977, 983 (9th Cir. 1999). Defendants must show that

 16    the government’s pre-litigation and litigation positions had “a ‘reasonable basis both
       in law and fact.’” Meier v. Colvin, 727 F.3d 867, 870 (9th Cir. 2013) (quoting Pierce
 17
       v. Underwood, 487 U.S. 552, 565 (1988)) (emphasis added).
 18
             When analyzing the reasonableness of the Government’s position, a court
 19
       considers the totality of the circumstances, which incorporates both the challenged
 20
       underlying governmental action and the Government’s trial court position. See
 21
       Gutierrez v. Barnhart¸ 274 F.3d 1255, 1259 (9th Cir. 2001) (“Thus we ‘must focus
 22
       on two questions: first, whether the government was substantially justified in taking
 23
       its original action; and, second, whether the government was substantially justified in
 24
       defending the validity of the action in court’”) (quoting Kali v. Bowen, 854 F.2d 329,
 25
       332 (9th Cir. 1988)); see also Rawlings v. Heckler, 725 F.2d 1192, 1196 (9th Cir.
 26
 27    4
        In both Keith and Jeff D., the court reviewed fees awarded under 42 U.S.C.
 28    § 1988. However, identical principles apply to an award of post-judgment
       attorney’s fees under the EAJA. Perez-Arellano, 279 F.3d at 794.
                                                  6                          MOTION FOR ATTORNEYS FEES
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   1
       1984). Moreover, “the EAJA – like other fee-shifting statutes – favors treating a case
   2
       as an inclusive whole, rather than as atomized line-items.” Ibrahim, 912 F.3d at 1169
   3   (quoting Jean, 496 U.S. at 161-62). The Ninth Circuit has “consistently held that
   4   regardless of the government’s conduct in the federal court proceedings,
   5   unreasonable agency action at any level entitles the litigant to EAJA fees.” Id. at
   6   1167 (quoting Li v. Keisler, 505 F.3d 913, 919 (9th Cir. 2007)).
   7         Plaintiffs have alleged that Defendants’ position was without substantial
   8   justification and that no special circumstances make a fee award unjust. This
   9   allegation suffices to shift the burden to Defendants to show that their challenged
 10    policies and pratices were substantially justified—i.e. were in substantial compliance
 11    with the FSA and Court orders implenting the FSA—or that special circumstances
 12    would make a fee award unjust. Scarborough, 541 U.S. at 416-17; see also In re
 13    Mgndichian, 312 F. Supp. 2d 1250, 1255 (C.D. Cal. 2003) (prevailing party need
 14    only “alleg[e] that the government's position was not substantially justified and that

 15    no special circumstances exist that make an award unjust.”); 28 U.S.C. § 2412(d) (“A

 16    party seeking an award of fees ... shall also allege that the position of the United
       States was not substantially justified.”).
 17
             Defendants will not likely succeed in making either showing. There was no
 18
       substantial justification for Defendants to hold hundreds or thousands of Class
 19
       Members in unsafe and unsanitary conditions in violation of the terms of the FSA and
 20
       this Court’s prior Orders.
 21
             Prior to the TRO being filed, on June 19, 2019, Class Counsel emailed Special
 22
       Master Ordin and Defendants’ counsel a Notice of Non-Compliance describing
 23
       Defendants’ violations of the FSA and this Court’s June 27, 2017 Order. Counsel
 24
       made it clear that “these violations present a serious public health emergency that
 25
       require immediate remediation. Unless these unsafe and unsanitary conditions are
 26    cured right away, more detainees will get sick, and there will be further spread of a
 27    very dangerous and contagious flu virus. The conditions are particularly dangerous
 28    for the most vulnerable ones in custody – infants and young mothers. Five infants

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   1
       from CPC-Ursula recently were admitted to the NICU.” In any event, Defendants
   2
       obviously knew that violations of the FSA and this Court’s prior Orders were
   3   occurring at their facilities.
   4          As Plaintiffs alleged in the TRO Application, “class member children [were]
   5   held for weeks in deplorable conditions, without access to soap, clean water, showers,
   6   clean clothing, toilets, toothbrushes, adequate nutrition or adequate sleep. The
   7   children, including infants and expectant mothers, [were] dirty, cold, hungry and
   8   sleep-deprived.” TRO Application at 1 [Doc. # 572].
   9          The TRO Application alleged that in “violation of the obligation to provide
 10    ‘safe’ facilities, the CBP has young children taking care of toddlers and other very
 11    young children, in conditions that constitute child endangerment. See Exhibit 41,
 12    A.M.O.R. Decl. ¶¶ 3-5 (‘A Border Patrol Agent came in our room with a two-year-
 13    old boy and asked us, ‘Who wants to take care of this little boy?’ Another girl said
 14    she would take care of him, but she lost interest after a few hours and so I started

 15    taking care of him yesterday. His bracelet says he is two years old. I feed the 2-year-

 16    old boy, change his diaper, and play with him. . . . . The little boy that I am taking
       care of never speaks. He likes for me to hold him as much as possible.’).” TRO
 17
       Application at 5-6 [Doc. # 572].
 18
              In fact, as a deterrent for future violations, Plaintiffs requested that Defendants
 19
       be held in contempt for their flagrant and persistent violations of the Agreement and
 20
       the June 27, 2017 Order. [Doc. # 572].
 21
              On June 28, 2019, the Court addressed Plaintiffs’ TRO Application. The Court
 22
       observed that “the emergent nature of Plaintiffs’ allegations demands immediate
 23
       action.” In Chambers – Order re Plaintiffs’ Ex Parte Application for a Temporary
 24
       Restraining Order and an Order to Show Cause Why a Preliminary Injunction and
 25
       Contempt Order Should Not Issue (“TRO Order”) at 2. [Doc. # 576]. The Court
 26    posited: “If 22 years has not been sufficient time for Defendants to refine [a] plan in a
 27    manner consistent with their ‘concern for the particular vulnerability of minors’ and
 28    their obligation to maintain facilities that are consistently ‘safe and sanitary,’ it is

                                                   8                          MOTION FOR ATTORNEYS FEES
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   1
       imperative that they develop such a comprehensive plan forthwith. Id. at Paragraph
   2
       12.A.” TRO Order at 2 (emphasis in original). [Doc. # 576].
   3         Defendants’ pre-litigation position was prima facie without justification. Cf.
   4   Sampson v. Chater, 103 F.3d 918, 921 (9th Cir. 1996) (no substantial justification
   5   “when the agency’s position was based on violations of the Constitution, federal
   6   statute, or the agency’s own regulations” (quoting Mendenhall v. Nat’l Transp. Safety
   7   Bd., 92 F.3d 871, 874 (9th Cir. 1996)).5
   8         It is also clear in this case that the Government’s initial litigation position
   9   lacked substantial justification.
 10          On June 27, 2019, the day after Plaintiffs’ TRO Application was filed,
 11    Defendants filed their opposition, arguing, in part, that Plainitffs’ TRO request “seeks
 12    relief beyond what is avialable under the Agreement,” which would “impose
 13    extensive obligations…on the government.” Opposition to Ex Parte Application for
 14    Temporary Restraining Order as to Why a Preliminary Injunction and Contempt

 15    Order Should not Issue (“Opposition”) [Doc. # 574]. Defendants accused Plaintiffs of

 16    “ask[ing] the Court to order coercive remedies.” Id. at 4. [Doc. # 574].
             At no time throughout the course of the litigation – whether in any pleading or
 17
       joint status report – did Defendants deny the allegations that were made in Plaintiffs’
 18
       TRO Application.
 19
             Ultimately, on May 21, 2022, the parties reached a 63-page settlement
 20
       agreement, concluding that “the terms and conditions of this compromise are fair and
 21
       reasonable.” Proposed Settlement Re CBP Conditions re Ex Parte Application for
 22
       Temporary Restraining Order as to Why a Preliminary Injunction and Contempt
 23
       Order Should not Issue (“Proposed Settlement”) [Doc. # 1254]. The Proposed
 24
       Settlement includes, but is not limited to, the following provisions:
 25
 26
 27    5
        It might also be noted that “a string of losses can be indicative” of whether the
 28    government’s position is substantially justified. Gonzalez, 408 F.3d at 618 (quoting
       Pierce, 487 U.S. at 569).
                                                  9                          MOTION FOR ATTORNEYS FEES
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   1
            (1) “CBP medical support seeks to ensure appropriate access to medical care
   2
               for persons in custody, with an emphasis on populations who may be
   3           vulnerable, such as class members.” Proposed Settlement at 7 [Doc. #
   4           1254].
   5        (2) “In all facilities, CBP shall ensure that class members have access to age-
   6           appropriate meals and snacks that meet class members’ daily caloric needs.
   7           The main emphasis shall be on safety of food sources and meeting basic,
   8           age-appropriate caloric intake and hydration needs.” Id. at 10.
   9        (3) “CBP shall provide ready access to clean drinking water and cups, as
 10            appropriate, at all times.” Id.
 11         (4) “CBP shall maintain a temperature range inside facilities in RGV and El
 12            Paso Sector of no less than 69° Fahrenheit and no more than 83°
 13            Fahrenheit.” Id. at 12.
 14         (5) “Facilities shall maintain a stock of clothing in a variety of sizes that can be

 15            distributed to class members.” Id.

 16         (6) “CBP shall make all reasonable efforts to provide class members with
               sufficient space, as well as a mat and blanket, during sleep hours.” Id. at 13.
 17
            (7) “Hygiene kits shall be available to class members upon request, and will be
 18
               provided to each class member when showers are offered. The hygiene
 19
               items offered shall include appropriate soap for hair and body,
 20
               toothbrushes/toothpaste, and towels for showering.” Id.
 21
            (8) “CBP shall treat all class members in custody with dignity, respect and
 22
               special concern for their particular vulnerability as minors and place each
 23
               class member in the least restrictive setting appropriate to the class
 24
               member’s age and special needs.” Id. at 14.
 25
            (9) “Absent an articulable operational reason, class members apprehended with
 26            adult family members (including non-parents or legal guardians) shall
 27            remain with that family member during their time in CBP custody, in
 28            accordance with TEDS, as well as the requirements of the TVPRA.” Id.

                                                 10                        MOTION FOR ATTORNEYS FEES
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   1
             The Government cannot advance “‘in good faith’ any ‘novel but credible
   2
       extensions and interpretations of the law,’ and therefore no equitable considerations
   3   weigh against granting Plaintiffs’ fee request.” Order re Plaintiffs’ Motion for
   4   Attorneys’ Fees at 4, Nov. 12, 2019 (November 12, 2019 Fees Order) (quoting H.R.
   5   Rep. No. 96-1418, at 11 (1980)). [Doc. # 702.]
   6   B.    Lodestar calculation.
   7         A “lodestar” figure for the amount of fees Plaintiffs should recover is
   8   calculated by multiplying the number of hours counsel reasonably dedicated by the
   9   inflation-adjusted EAJA hourly rate. Hensley v. Eckerhart, 461 U.S. 424, 433, 103 S.
 10    Ct. 1933, 76 L.Ed.2d 40 (1983); Costa v. Comm’n of Social Security Admin., 690
 11    F.3d 1132, 1135 (9th Cir. 2012).6 Furthermore:
 12                 In certain cases, courts in the Ninth Circuit may authorize enhanced
 13          EAJA rates—above inflation-adjusted rates—where there was a “limited
 14          availability of qualified attorneys for the proceedings involved” and the

 15          attorneys had “distinctive knowledge” and “specialized skill” that was “needful

 16          to the litigation in question” and “not available elsewhere at the statutory rate.”
             Nadarajah v. Holder, 569 F.3d 906, 912 (9th Cir. 2009) (citations omitted).
 17
             Order Re Plaintiffs’ Motion for Attorneys’ Fees and Costs at 6, Nov. 14, 2017
 18
       (“November 14, 2017 Fees Order”). [Doc. # 383.]
 19
             Pursuant to EAJA, Thangaraja v. Gonzales, 428 F.3d 870, 876-77 (9th Cir.
 20
       2005), and Ninth Circuit Rule 39-1.6, the inflation-adjusted EAJA base rate for the
 21
       periods counsel worked on the instant matter is $205.25 per hour for the hours
 22
       worked in 2019, $207.78 per hour for the hours worked in 2020, $217.54 per hour for
 23
       the hours worked in 2021 and $231.49 per hour for the hours worked in 2022. See
 24
       https://www.ca9.uscourts.gov/attorneys/statutory-maximum-rates/ (last visited
 25
 26
 27    6
        An increase over the base rate to account for inflation is granted in all but unusual
 28    circumstances. Animal Lovers Vol. Assn. v. Carlucci, 867 F.2d 1224, 1227 (9th
       Cir. 1989).
                                                 11                        MOTION FOR ATTORNEYS FEES
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   1
       August 18, 2022).7
   2
             The hours counsel devoted to prosecuting this action, adjusted for time that
   3   was poorly documented or excessive, appear in the itemized time records annexed to
   4   the declarations of Plaintiffs’ Class Counsel Peter Schey, Exhibit 1(B), and co-
   5   counsel Rene Kathawala, Exhibit 2.8
   6         Counsel Kathawala, admitted pro hac vice to represent the Plaintiffs in this
   7   matter on behalf of Orrick, Herrington & Sutcliffe LLP, has worked on this case
   8   since October 2014. Mr. Kathawala and his colleagues have maintained
   9   contemporaneous records of time they spent working on this case. In exercising
 10    billing judgment, they have eliminated 43.6 hours of duplicative time, and also more
 11    than 100 hours of time spent by Marc Shapiro (partner), Shaila Rahman Diwan
 12    (former partner), Logan Dwyer (former associate) and Michael Peters (legal
 13    assistant). The contemporaneous time records of Orrick’s attorneys are attached as
 14    Exhibit 1 to Mr. Kathawala’s Declaration.

 15          Based on Mr. Kathawala’s judgment and experience, the work performed by

 16    Orrick attorneys in this case was reasonable, necessary, and justified based on the
       number and complexity of the issues presented in this matter, and was coordinated
 17
       with lead counsel, Mr. Schey. Any fees awarded for Orrick’s time in this matter will
 18
       pay off expenses that the firm incurred in this matter, and any remaining fees will be
 19
       deposited into the account of their firm’s charitable foundation, from which they
 20
       make grants to legal services organizations. By taking on the work this case entailed,
 21
       Orrick’s attorneys were precluded from taking on other legal services matters as part
 22
 23    7
         Prior to 1996 the EAJA set a base rate of $75 per hour. 28 U.S.C. §
 24    2412(d)(2)(A) (1994). In 1996 Congress increased the base rate to $125 per hour
       for cases commenced on or after March 29, 1996. Sorenson v. Mink, 239 F.3d
 25    1140, 1145 (9th Cir. 2001). The Ninth Circuit’s calculations adjust the 1996 rate
 26    for inflation.
       8
         Time spent preparing the instant EAJA motion is also compensable. See Jean,
 27    496 U.S. at 163-64. To encourage a resolution of this motion, Plaintiffs are not
 28    seeking compensation for the vast majority of time dedicated to preparing this
       motion.
                                                12                        MOTION FOR ATTORNEYS FEES
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       of their firm’s pro bono program that would have furthered the interests of vulnerable
   2
       clients without access to counsel.
   3              Between June 11, 2019 and August 1, 2022, the total amount of time that Mr.
   4   Kathawala and his colleagues worked on Plaintiffs’ TRO Application and settlement
   5   discussions was 650.9 hours and 3.5 hours preparing Mr. Kathawala’s declaration.
   6              Pursuant to Ninth Circuit Rule 39-1.6,9 the applicable inflation adjusted rate
   7   for EAJA fees and Orrick’s annual hours and requested fees are as follows:
   8
   9       2019                  $205.25               428.25                $87,898.31
 10        2020                  $207.78               197.15                $40,963.83
 11        2021                  $217.54               25.3                  $5,503.76
 12        2022                  $231.49               3.7                   $856.51
 13                                                    Total                 $135,222.41
 14               Lead counsel Schey’s statutory rates would be as follows:
 15        2019                  $205.25               305.83                $62771.61
 16        2020                  $207.78               193.08                $40118.16
 17        2021                  $217.54               48.85                 $10626.83
 18        2022                  $231.49               43.00                 $9954.07
 19                                                    Total                 $123,470.67
 20
 21               As will be seen, the Court should award Plaintiffs fees for lead Class Counsel’s

 22    time at “enhanced,” or market, hourly rates.
       C.         Special factors warrant a fee award at market rates for Plaintiffs’ Senior
 23
       Counsel.
 24
                  The EAJA authorizes the Court to award attorney’s fees at market rates where
 25
       there is a “limited availability of qualified attorneys for the proceedings involved.” 28
 26
       U.S.C. § 2412(d)(2)(A). Enhanced hourly rates may be awarded where plaintiffs’
 27
 28    9
           See also Thangaraja v. Gonzales, 428 F.3d 870, 876-77 (9th Cir. 2005).
                                                     13                        MOTION FOR ATTORNEYS FEES
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   1
       counsel possess “distinctive knowledge” and “specialized skill” that was “needful to
   2
       the litigation in question” and “not available elsewhere at the statutory rate.”
   3   Nadarajah, 569 F.3d at 912 (quoting Thangaraja v. Gonzales, 428 F.3d 870, 876 (9th
   4   Cir. 2005) and Love, 924 F.2d at 1498); see also Pierce, supra, 487 at 572
   5   (“Examples . . . would be an identifiable practice specialty such as patent law, or
   6   knowledge of foreign law or language.”).
   7         In Nadarajah, the Ninth Circuit held this test satisfied where counsel had
   8   “distinctive knowledge and specialized skill in immigration law and, in particular,
   9   constitutional immigration law and litigation involving the rights of detained
 10    immigrants” and this skill was “needful to the litigation in question.” 569 F.3d at
 11    912-14 (quoting Thangaraja, 428 F.3d at 876); see also Fang v. Gonzales, No. 03-
 12    71352, 2006 WL 5669901, *3 (9th Cir. Oct. 30, 2006) (Unpub. Disp.) (“Counsel
 13    Smith’s specialized skills and distinctive ‘knowledge of . . . particular, esoteric nooks
 14    and crannies of immigration law,’ ... enabled her to ... to succeed in obtaining relief

 15    from removal for Fang.” (quoting Thangaraja, 428 F.3d at 876)). In Nadarajah, the

 16    Ninth Circuit accordingly awarded the prevailing party’s senior counsel fees at
       market rate. 569 F.3d at 916-18.
 17
             Similarly, in Orantes-Hernandez v. Holder, 713 F. Supp. 2d 929 (C.D. Cal.
 18
       2010), the Government moved to dissolve an injunction requiring immigration
 19
       authorities to follow specific procedures when detaining, processing and removing
 20
       Salvadoran nationals. Id. at 936. The court largely denied the motion, and the
 21
       plaintiffs sought EAJA fees at market rates because defending against the
 22
       Government’s motion required specialized knowledge of, inter alia, the history of the
 23
       litigation that had resulted in the injunction. Id. at 959-63.
 24
             The district court awarded fees at market rates for senior counsel. Id. at 964. In
 25
       addition to special knowledge of immigration law and procedure and complex civil
 26    litigation, the court found that the prevailing parties’ counsel “by virtue of their long
 27    involvement in this litigation, possess[ed] distinctive knowledge crucial to litigation
 28    of this complicated case,” id. at 961, and had specialized skills—including

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       proficiency in Spanish—that were necessary to defend the injunction. Id. at 960-63.
   2
       1.    Plaintiffs’ Class Counsel possesses distinctive knowledge and specialized
   3   skill that were needful to the litigation.
   4         As in Orantes-Hernandez and Nadarajah, Plaintiffs’ counsel here have
   5   extensive experience, knowledge and specialized skill in immigration law, youth law,
   6   and more particularly, the rights of detained immigrant and refugee juveniles as they
   7   exist at the intersection of the Settlement, the Homeland Security Act of 2002, Pub.
   8   L. 107-296, 116 Stat. 2135 (“HSA”), the William Wilberforce Trafficking Victims
   9   Protection Reauthorization Act of 2008, 110 Pub. L. 457, 122 Stat. 5044 (“TVPRA”),
 10    and the United States Constitution.
 11          First, Plaintiffs’ Class Counsel is a highly skilled litigator with vast expertise in
 12    representing immigrants, youth, and other vulnerable groups in nationwide class
 13    action cases. See Exhibit A attached to Schey Declaration. Plaintiffs’ Class Counsel
 14    is among the leading lawyers litigating class actions on behalf of immigrant and

 15    refugee children. He has successfully litigated multiple statewide and nationwide

 16    class actions cases involving the rights of immigrant youth for over 40 years. Id.
             Here, prosecuting Plaintiffs’ action by Class Counsel required specialized
 17
       expertise in immigration law, the Flores Agreement and its history, and interpretation
 18
       of federal consent decrees as these distinct areas of the law affect a discrete and
 19
       otherwise defenseless subclass: immigrant and refugee youth in federal detention
 20
       facilities. Distinctive knowledge of the Flores Agreement, the meaning of its terms
 21
       under federal immigration laws, and the Government’s policies and practices in
 22
       implementing the Agreement, as well as the ability to converse in Spanish were
 23
       necessary to the successful resolution of this litigation. See Declaration of Schey,
 24
       Exhibit 1 at ¶ 6 (“I am able to converse with class members and their mothers in
 25
       Spanish. The majority of class members in the litigation the CHRCL conducts,
 26    including Flores, are monolingual Spanish-speakers, and the ability to communicate
 27    with these class members in their native language is invaluable.”).
 28          This Court has previously held that the undersigned Class Counsel possesses

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       “intimate knowledge of the Agreement”; that “[i]n addition to litigating the matter
   2
       that led to the Agreement, [] Schey [has] been involved with monitoring the
   3   government’s compliance with the Agreement since its inception”; and that he is
   4   “therefore uniquely positioned to efficiently litigate the enforcement action in
   5   question.” November 14, 2017 Fees Order at 6-7. In 2017 and again in 2019 the
   6   Court accordingly awarded Plaintiffs fees at market rates for work performed by the
   7   undersigned Class Counsel.
   8   2     Other qualified attorneys unavailable.
   9         Further, few, if any, other lawyers in the country could or would have
 10    prosecuted a complex emergency application on behalf of a class of indigent, non-
 11    English-speaking detained minors, many detained in remote locations, at the
 12    inflation-adjusted EAJA rate.
 13          These factors warrant the Court’s awarding attorney’s fees at rates “in
 14    line with those [rates] prevailing in the community for similar services by

 15    lawyers of reasonably comparable skill, experience and reputation.’”

 16    Nadarajah, 569 F.3d at 916 (quoting Blum v. Stenson, 465 U.S. 886, 895 and
       n.11 (1984)).
 17
       3.    Enhanced Rates
 18
             Hourly market rates for lawyers with less experience than plaintiffs’ Class
 19
       Counsel are in the range of $950 in 2019, $1,050 in 2020, $1,150 in 2021, and $1,250
 20
       in 2022. See Declaration of Carol Sobel, Exhibit 3 (“Sobel”), ¶¶ 21-34.10 Class
 21
       Counsel Schey excluded from his hours filed herewith and does not seek
 22
       reimbursement for multiple tasks including, for example, routine brief discussions
 23
 24    10
         Ms. Sobel is a Los Angeles attorney whose expertise in market rates courts have
 25    repeatedly recognized. See, e.g., Nadarajah, 569 F.3d at 912-13; Orantes-
 26    Hernandez, 713 F. Supp. 2d at 963-64. As this Court held in 2019, “[t]he increased
       rate [of $950 per hour for Schey] is ‘in line with those [rates] prevailing in the
 27    community for similar services by lawyers of reasonably comparable skill,
 28    experience, and reputation.’” November 12, 2019 Fees Order at 5 (quoting
       Nadarajah, 569 F.3d at 916).
                                                 16                        MOTION FOR ATTORNEYS FEES
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       about the litigation with co-class counsel, experts, and advocates representing class
   2
       members in their individual cases, brief email traffic with co-counsel, consultants and
   3   counsel representing class members, review of media reports and studies regarding
   4   the challenged policies or practices, and other tasks taking less than ten minutes.
   5   Schey at ¶ 11.
   6                 Plaintiffs accordingly request an Order granting Plaintiffs reasonable
   7   fees as follows for time of lead counsel Mr. Schey::
   8    2019                  $950                  305.83               $ 290,538.50
   9    2020                  $1.050                193.08               $ 202,734.00
 10     2021                  $1,150                48.85                $ 56,177.50
 11     2022                  $1,250                43.00                $ 53,750.00
 12                                                 Total                $ 603,200.00
 13            Fees awarded for Class Counsel’s work will be paid to the Center for Human
 14    Righs and Constitutional Law and used to provide free legal services to indigent
 15    immigrants and other low-income vulnerable groups unable to afford retained
 16    counsel.
 17    IV      CONCLUSION

 18            For the foregoing reasons, this Court should award Plaintiffs attorney’s fees

 19    pursuant to 28 U.S.C. § 2412(d) as herein requested.

 20    ///
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 22
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                                                 17                        MOTION FOR ATTORNEYS FEES
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   1   Dated: August 27, 2022.          Respectfully submitted,
   2
                                        CENTER FOR HUMAN RIGHTS
   3                                    AND CONSTITUTIONAL LAW
   4                                    Peter A. Schey

   5                                    USF SCHOOL OF LAW IMMIGRATION CLINIC
   6                                    Bill Ong Hing

   7                                    LA RAZA CENTRO LEGAL, INC.
   8                                    Stephen Rosenbaum
   9                                    ORRICK, HERRINGTON & SUTCLIFFE, LLC
 10                                     Rene Kathawala
 11
 12                                     /s/ Peter Schey
 13
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                                          18                      MOTION FOR ATTORNEYS FEES
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   1                              CERTIFICATE OF SERVICE
   2
   3         I, Peter Schey, declare and say as follows:
   4         I am over the age of eighteen years of age and am not a party to this action. I
   5   am employed in the County of Los Angeles, State of California. My business address
   6   is 256 S. Occidental Blvd., Los Angeles, CA 90057, in said county and state.
   7         On August 27, 2022 I electronically filed the following document(s):
   8   NOTICE OF MOTION AND MOTION FOR AWARD OF ATTORNEYS’ FEES
   9   AND COSTS; MEMORANDUM IN SUPPORT OF MOTION
 10    with the United States District Court, Central District of California by using the
 11    CM/ECF system. Participants in the case who are registered CM/ECF users will be
 12    served by the CM/ECF system.
 13
                                                                 /s/Peter Schey
 14                                                        Attorney for Plaintiffs
 15
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                                                 19                        MOTION FOR ATTORNEYS FEES
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